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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC,

      Plaintiff,

vs.                                          CIVIL ACTION FILE NO.
                                                1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION
and RONALD D. HERMAN,

      Defendants.


                                  ORDER

      This matter having come before the Court on Ronald D. Herman’s

Special Appearance for the Limited Purpose of Emergency Motion to Stay

Proceedings, and for good cause shown, the Court:

      ORDERS that Herman’s time for filing an answer or motion to dismiss

under Fed. R. Civ. P. 12 be moved to 30 days following the Court’s entry of a

final order regarding Herman’s pending Motion to Dismiss [Doc. 67 – 67-4,

72]. The submission of the Joint Preliminary Report and Discovery Plan in

regard to Herman and any other disclosures required shall occur pursuant to

the number of days specified therefor in the Federal Rules of Civil Procedure,

as modified by the Local Rules and this Court’s Standing Order, as duly
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calculated following the appearance of Herman by pleading or motion in

accordance with this Order.

      So Ordered this 3rd day of March 2021.



                                         Honorable Steven D. Grimberg
                                         United States District Judge for
                                         the Northern District of Georgia


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